 8:12-cr-00136-LSC-FG3        Doc # 25     Filed: 05/09/12    Page 1 of 1 - Page ID # 39



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:12CR136
       vs.                                 )
                                           )                       ORDER
RALPH PEREZ,                               )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's UNOPPOSED MOTION TO
ENLARGE TIME FOR PRETRIAL MOTIONS [23]. For good cause shown, I find that the
motion should be granted. The defendant will be given an approximate 28-day
extension. Pretrial Motions shall be filed by June 12, 2012.

       IT IS ORDERED:

     1.   Defendant's UNOPPOSED MOTION TO ENLARGE TIME FOR PRETRIAL
MOTIONS [23] is granted. Pretrial motions shall be filed on or before June 12, 2012.

        2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between May 15, 2012 and June
12, 2012, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 9th day of May, 2012.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
